      Case 1:17-cv-00173-BRW-CSM Document 81 Filed 04/03/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF NORTH DAKOTA

ENERGY TRANSFER EQUITY, LP, ET AL.                                                  PLAINTIFFS

VS.                                   1:17-CV-00173-BRW

GREENPEACE INTERNATIONAL, ET AL.                                                   DEFENDANTS

                                             ORDER

       The points made in Earth First! Journal’s April 2, 2018 filing are well-taken.1

       Accordingly, if Plaintiff wants to pursue claims against Earth First!, it is responsible for

serving it pursuant to the Federal Rules of Civil Procedure.

       IT IS SO ORDERED this 3rd day of April, 2018.

                                                      /s/ Billy Roy Wilson
                                                      UNITED STATES DISTRICT JUDGE




       1
        Doc. No. 80.
